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                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

UNITED STATES OF AMERICA,
    Plaintiff,
    v.
JALAL HAJAVI,                              CRIMINAL ACTION NO.:
                                           1:19-CR-443
    Defendant.


            MOTION TO DISMISS INDICTMENT FOR VIOLATION OF
          DEFENDANT'S STATUTORY RIGHT TO SPEEDY INDICTMENT

         COMES NOW, Jalal Hajavi, by and through undersigned counsel, and files

this Motion to Dismiss for Violation of Defendant's Statutory Right to Speedy

Indictment.

                           Concise Factual Background

         Two complaints have been filed by the Government in this case. The first

was filed on July 24, 2017 and charged violations of “13 U.S.C. § 305 and

regulations promulgated thereunder in violation of Title 18, United States Code, §

554.”1 The Government filed a second complaint on February 20, 2019 charging

violations of “Title 50, United States Code, § 1705(a), in violation of Title 18,

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  The first complaint is docketed at 1:17-MJ-608. Though the case was unsealed,
there is no affidavit attached to the complaint. Counsel for the Government has
provided to counsel for Mr. Hajavi a Word document believed to be the most
recent iteration of the affidavit supporting the complaint.
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United States Code, § 554; in violation of Title 18 United States Code, § 371.”

Doc. 1 at 1.

      Nine months after filing the second complaint, on November 20, 2019, the

Government filed a four-count indictment charging violations of 18 U.S.C. § 554

(Cts 1,2) and 50 U.S.C. § 1705 (Cts 1, 2, 3, 4). Doc. 25.

      While there is excludable time, there exists non-excludable time

significantly in excess of 30 days.

                             Argument and Authority

      I.       A Violation of the Speedy Trial Act Has Occurred, Mandating
               Immediate Dismissal

      18 U.S.C. § 3161(b) governs statutory speedy indictment rules requiring that

"Any information or indictment charging an individual with the commission of an

offense shall be filed within thirty days from the date on which such individual was

arrested or served with a summons in connection with such charges." Far more

than thirty days passed between the filing of both the first and second complaint

and the filing of the indictment. While some periods were tolled following the

second complaint, they are not sufficient to impact the analysis and will not be

addressed here.

      Once a violation of the Speedy Trial Act has been established, dismissal is

mandated. 18 U.S.C. § 3162(a)(1)("If, in the case of any individual against whom a
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complaint is filed charging such individual with an offense, no indictment or

information is filed within the time limit required by section 3161(b) as extended

by section 3161(h) of this chapter, such charge against that individual contained in

such complaint shall be dismissed or otherwise dropped.")(emphasis added).

Because more than 30 non-excludable days gave elapsed, Mr. Hajavi's rights under

the Speedy Trial Act have been violated and this Court must dismiss the instant

indictment.

      II.     This Court Should Dismiss the Indictment with Prejudice

      In determining whether to dismiss a case on a statutory speedy trial violation

with or without prejudice is governed by 18 U.S.C. § 3162(a)(2). "Under both §§

3162(a)(1) and (a)(2), the district court has discretion to dismiss a case either with

or without prejudice. United States v. Taylor, 487 U.S. 326, 335, 108 S.Ct. 2413,

101 L.Ed.2d 297 (1988); United States v. Derose, 74 F.3d 1177, 1182 (11th

Cir.1996). As the Supreme Court clarified in Taylor, there is no preference for one

type of dismissal over the other. 487 U.S. at 335, 108 S.Ct. 2413.

      In choosing whether to dismiss with or without prejudice, the Court is

guided by considering, at a minimum, the three factors specifically enumerated in

both parts of § 3162(a): the seriousness of the offense; the facts and circumstances

of the case which led to the dismissal; and the impact of a reprosecution on the

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administration of this chapter and on the administration of justice. Id. "[C]ourts are

not free simply to exercise their equitable powers in fashioning an appropriate

remedy, but, in order to proceed under the Act, must consider at least the three

specified factors." United States v. Taylor, 4877 U.S. 326, 333 (1988).

      In order to dismiss the case without prejudice, the burden is on the

Government to show "affirmative justification" that warrants dismissal without

prejudice. United States v. Godoy, 821 F.2d 1498, 1505 (11th Cir.1987)("[I]n order

to prevent abuse of the [Act's] deadlines, we require a showing of some affirmative

justification by the government to warrant a dismissal without prejudice.”)

(internal quotation marks omitted). As such, the burden is on the Government to

show why the case should not be dismissed with prejudice. Accordingly, Mr.

Hajavi will address these factors in a reply brief should the Government contest

this motion.

      WHEREFORE, Mr. Hajavi prays that this Court will dismiss the instant

action with prejudice.

      Dated: This 16th day of January, 2020.

                                 Respectfully Submitted,
                                 /s/ John Lovell
                                 John Lovell
                                 Attorney for Defendant
                                 Georgia Bar No. 359390

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               CERTIFICATE OF SERVICE AND COMPLIANCE

      I hereby certify that the foregoing document was formatted in New Times

Roman 14 pt., in accordance with Local Rule 5.1B, and I have this day

electronically filed the document with the Clerk of the Court using the CM/ECF

system which will automatically send e-mail notification of such filing to the

attorney(s) of record in the case, including opposing counsel.

      Dated: This 16th day of January, 2020.

                                /s/ John Lovell
                                John Lovell
                                Attorney for Defendant




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